     Case 3:16-cr-02119-MMA   Document 49   Filed 12/09/16   PageID.92   Page 1 of 1




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 8                             UNITED STATES DISTRICT COURT

 9                            SOUTHERN DISTRICT OF CALIFORNIA

10
       UNITED STATES OF AMERICA,
11                                                   Case No.: 16CR2119-MMA-2
                               Plaintiff,
12
                                                     ORDER AND JUDGMENT OF
             v.                                      DISMISSAL WITHOUT PREJUDICE
13

14     ANTONIA ELIZABETH PABLO (2),
                                                     [Doc. No. 48]
15                             Defendant.

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19          Upon motion of the United States of America and good cause
20 appearing,

21          IT IS HEREBY ORDERED that the Information in the above-entitled
22 case be dismissed without prejudice as to Defendant ANTONIA ELIZABETH

23 PABLO only.

24          IT IS SO ORDERED.
25          DATED: December 9, 2016.
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                                               HONORABLE MICHAEL M. ANELLO
                                               United States District Judge
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